   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 1 of 11



    IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                  DISTRICT OF PENNSYLVANIA


SANDRA BREI                            CIVIL ACTION NO:      1:17-CV-121
          Plaintiff,                   ELECTRONICALLY FILED

     v.                                COMPLAINT IN CIVIL
                                       ACTION

UNITED STATES OF AMERICA,
PRIMARY HEALTH NETWORK,
TIMOTHY FULLERTON, D.O., d/b/a
MERCER PRIMARY CARE, and
DIANA KEISEL, LPN

          Defendants.

                                       Filed on behalf of
                                       Plaintiff:
                                       Sandra Brei

                                       Counsel of record for
                                       this party:

                                       Dominic D. Salvatori,
                                       Esquire
                                       Pa. I.D. # 27884

                                       310 Chestnut St.
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   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 2 of 11



                            COMPLAINT

     Plaintiff, Sandra Brei, by and through her attorney,

Dominic D. Salvatori, Esquire, brings the following cause

of action:

                              NOTICE


     1. On July 15, 2016, Plaintiff, served the Department

of Health and Human Services Office of the General Counsel

with an executed Standard Form 95 providing notice to the

United States Government of this claim.

     2.      By letter dated February 14, 2017, the Office of

General Counsel of the Department of Health and Human

Services notified Plaintiff’s Counsel that it was denying

Plaintiff Sandra Brei’s claim, further notifying the

undersigned to file suit against the United States in the

appropriate Federal Court District Court within six (6)

months from the date of mailing of the determination

pursuant to 28 U.S.C. §2401(b).

                           JURISDICTION

     3.      This action is brought pursuant to the Federal

Tort Claims Act, 28 U.S.C. §2671.

     4.      Since the Plaintiff submitted an administrative

claim to the United States Department of Health and Human
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 3 of 11



Services, which denied the claim, all conditions, precedent

to a Federal Tort Claim, have been properly met.

     5.   Venue is properly within this district under 28

U.S.C. §1402(b) as the acts complained of occurred in the

Western District of Pennsylvania.

     6.   The claims herein are brought against the United

States of America pursuant to the Federal Tort Claims Act

(28 U.S.C. §2671, et seq.) and 28 U.S.C. §1346(b)(1) for

money damages as compensation for personal injuries that

were caused by the negligent and wrongful acts and

omissions of the employees of the United States Government

while acting within the scope of their offices and

employment, under circumstances where the United States, if

a private person, would be liable to the Plaintiffs in

accordance with the laws of the state of Pennsylvania.

     7.   While the claim against the United States of

America is based on Federal Statute, this court has

ancillary jurisdiction to hear the claims against all of

the other defendants since the claims are all substantially

related to the claim that is within this court's

jurisdiction, and there is a logical relationship to the

operative facts of all the claims.
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 4 of 11



                                PARTIES

     8.    Plaintiff Sandra Brei is an adult individual

residing at 10 Zahniser Road, Lot 4, Mercer, Mercer County,

Pennsylvania 16317.

     9.    Defendant United States of America (hereinafter

“United States”) has waived sovereign immunity pursuant to

the Federal Tort Claims Act.

     10.   Defendant United States of America is the grantor

of the U.S. Department of Health and Human Services, which

operates a federally qualified health care center, Primary

Health Network, with corporate offices located at 100

Shenango Ave, Sharon, Mercer County, Pennsylvania 16146.

     11.   At all times material Defendant Primary Health

Network was engaged in providing health care at the

facility known as Mercer Primary Care located at 737

Greenville Road, Mercer, Mercer County, Pennsylvania 16137.

Plaintiff is asserting a professional liability claim

against this Defendant.

     12.   Defendant Timothy Fullerton DO d/b/a Mercer

Primary Care, is a professional licensed to practice

medicine in the Commonwealth of Pennsylvania, specializing

in family practice. At all times material hereto he

maintained a professional office address at 737 Greenville

Road, Mercer, Mercer County, Commonwealth of Pennsylvania
    Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 5 of 11



16137, and an employee of a federally qualified health

center. Plaintiff is asserting a professional liability

claim against this Defendant.

     13.   At all times material hereto, Defendant Primary

Health Network acted by and through its agents, servants,

employees and/or ostensible agents, including Dr. Fullerton

d/b/a Mercer Primary Care, who acted within the course and

scope of their employment, duty and authority.

     14.   At all times material hereto, Dr. Fullerton d/b/a

Mercer Primary Care was an employee of Defendant Primary

Health Network.

     15.   At all times material hereto, Dr. Fullerton d/b/a

Mercer Primary Care was an actual agent, ostensible agent

and/or servant of Defendant Primary Health Network.

     16.   Defendant Diana Keisel is a Licensed Practical Nurse

in the Commonwealth of Pennsylvania.    Her last known address is

1330 Sheakleyville Rd, Cochranton, Crawford County, Pennsylvania

16314. At all times material hereto she was employed by Defendant

Timothy Fullerton d/b/a Mercer Primary Care and/or Defendant

Primary Health Network, authorized and acting in the course and

scope of that employment status.   Plaintiff is asserting a

professional liability claim against this defendant.
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 6 of 11



                                 FACTS

     17.     On July 16, 2014, Mrs. Brei went to the offices

of Defendant Fullerton for a routine office appointment.

     18.     While there, Defendant Fullerton examined Mrs.

Brei’s ears and noted a great deal of wax buildup that he

said needed cleaned out. Defendant Fullerton then left the

office and Defendant Keisel came into the room.        Defendant

Keisel put a solution in her right ear and started

squeezing a bulb like instrument with water into the ear.

Defendant Keisel said the wax is not coming out and so Mrs.

Brei asked Defendant Keisel if she should get the doctor.

Defendant Keisel replied that the doctor was “really busy”

and said “let me try again.”     The Defendant then injected

more water, forcefully, and Mrs. Brei felt a very severe

pain. Thereafter she went home and had severe ear pain that

night.     The pain eventually abated.

     19.     In December of 2014 Mrs. Brei applied for a

position with Trinity Living Center which required a pre-

employment physical.     She was informed that she had a

significant hearing loss in the right ear.       She then saw a

new family physician, Dr. Ciambotti, who confirmed the

hearing loss and said she had a “big hole” in her eardrum.

She went in January 2015 to an ENT specialist, Dr. Woods,

who confirmed the damage to her right ear. Ultimately
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 7 of 11



surgery was needed to reconstruct the eardrum.        Mrs. Brei

has been left with a significant hearing loss in the right

ear and constant ringing in the ears.

     20.   As a result of the negligence of the defendants,

as more specifically set forth below, Mrs. Brei has

suffered the following injuries:

     a.    Perforated/punctured right eardrum/posterior
           quadrant perforation;

     b.    Eustachian tube dysfunction;

     c.    Tympanosclerosis;

     d.    Mixed hearing loss of the right ear;

     e.    Tinnitus;

     f.    Central perforation of the tympanic membrane.

     21.   The natural and foreseeable consequence of these

injuries have been the following harms and losses:

     a.    Pain and suffering;

     b.    Loss of enjoyment of the pleasures of life,
           including but not limited to her freedom,
           independence, and ability to interact with her
           friends, neighbors, family and the community in
           general;

     c.    Embarrassment, humiliation and mental anguish;

     d.    Medical expenses, past and future;

     e.    Wage loss;

     f.    Loss of future earnings/earning capacity;
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 8 of 11



               COUNT ONE – PROFESSIONAL NEGLIGENCE

 SANDRA BREI VS. TIMOTHY FULLERTON, DO d/b/a MERCER PRIMARY
                            CARE

     22.     Paragraphs 1-21 above are incorporated by

reference.

     23.     Defendant Fullerton negligently caused the

aforesaid injuries and damages to Mrs. Brei by:

     a.      Having an improperly trained and/or incompetent
             and/or unsafe employee (Defendant Keisel) perform
             the ear wax removal procedure;

     b.      Choosing to have Defendant Keisel perform the
             procedure instead of himself when he knew, or in
             the exercise of reasonable diligence should have
             known, that she was not properly trained or
             otherwise incompetent to perform the same;

     c.      Not properly training or instructing staff,
             including but not limited to Defendant Keisel, in
             the proper and safe methods of removing ear wax
             without damaging the eardrum;

     d.      Refusing or otherwise not choosing to come into
             the room to check on Mrs. Brei when she requested
             that he do so during the procedure.

     24.     Defendant Fullerton is further vicariously liable

for the negligent actions of Defendant Keisel, as more

specifically set forth below.

     WHEREFORE, Plaintiff demands judgment in her favor and

against Defendants jointly, severally, and/or jointly and

severally, in an amount in excess of the jurisdictional

limits of compulsory arbitration, excluding costs and

interest.
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 9 of 11



               COUNT TWO – PROFESSIONAL NEGLIGENCE

              SANDRA BREI VS. PRIMARY HEALTH NETWORK

     25.     Paragraphs 1-24 are hereby incorporated by

reference.

     26.     At all times material hereto Defendants Fullerton

and/or Keisel were agents, servants, and/or employees of

Defendant Primary Health Network, authorized and acting in

the course and scope thereof.

     27.     Defendant Primary Health Network is vicariously

liable for the negligence of Defendants Fullerton and

Keisel, as more specifically set forth herein.

     28.     Defendant Primary Health Network is also

independently negligent for:

     a.      Allowing improperly trained and/or supervised
             personnel to perform an ear wax removal procedure
             on Mrs. Brei;

     b.      Allowing Defendant Keisel to perform the
             procedure when they knew, or in the exercise of
             reasonable diligence should have known, that she
             was not properly trained or otherwise incompetent
             to perform the same;

     c.      Employing improperly or inadequately trained
             personnel to perform ear wax removal.

     WHEREFORE, Plaintiff demands judgment in her favor and

against Defendants jointly, severally, and/or jointly and

severally, in an amount in excess of the jurisdictional
   Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 10 of 11



limits of compulsory arbitration, excluding costs and

interest.

             COUNT THREE – PROFESSIONAL NEGLIGENCE

               SANDRA BREI VS. DIANA KEISEL, LPN

     29.    Paragraphs 1-28 are incorporated by reference.

     30.    Defendant Keisel negligently caused the aforesaid

injuries and damages to Mrs. Brei by:

     a.     Flushing Mrs. Brei’s ear with such force as to
            puncture the eardrum;

     b.     Continuing the procedure after Mrs. Brei
            complained of pain;

     c.     Continuing the procedure after Mrs. Brei
            requested the doctor;

     d.     Performing the procedure when she knew, or should
            have known, that she was either not properly
            trained or otherwise lacked the qualifications to
            do so.

     WHEREFORE, Plaintiff demands judgment in her favor and

against Defendants jointly, severally, and/or jointly and

severally, in an amount in excess of the jurisdictional

limits of compulsory arbitration, excluding costs and

interest.

                      Respectfully submitted,


                      Dominic D. Salvatori
                      ___________________________
                      Dominic D. Salvatori, Esq.
                      Attorney for Plaintiff
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                      310 Chestnut St., Room 101
Case 1:17-cv-00121-SPB Document 1 Filed 05/11/17 Page 11 of 11



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